             Case MDL No. 3107 Document 1-1 Filed 02/27/24 Page 1 of 11




                     BEFORE THE UNITED STATES JUDICIAL PANEL
                          ON MULTIDISTRICT LITIGATION




    IN RE: PASSENGER VEHICLE                         MDL No.
    REPLACEMENT TIRES ANTITRUST
    LITIGATION



      MEMORANDUM IN SUPPORT OF PLAINTIFF SAMPAYAN’S MOTION TO
    TRANSFER AND CENTRALIZE RELATED ACTIONS FOR CONSOLIDATED OR
                 COORDINATED PRETRIAL PROCEEDINGS

         Plaintiff Rena Sampayan (“Movant”) respectfully submits this memorandum of law in

support of her Motion to Transfer and Centralize Related Actions for Consolidated or

Coordinated Pretrial Proceedings.1 To date, fourteen related cases have been filed in three

districts each alleging that some of the largest tire manufacturers in the United States and

globally conspired to artificially increase and fix the prices of new replacement tires for

passenger cars, vans, trucks and buses sold in the United States in violation of federal and state

antitrust laws. Transfer and centralization of the related actions to the Southern District of New

York—where the vast majority of the cases are pending—will advance the efficient resolution of

this litigation and serve the convenience of the parties and witnesses. The district has extensive

experience with multidistrict antitrust litigation and provides convenient access to Europe in this

litigation involving multiple European defendants.

                       FACTUAL AND PROCEDURAL BACKGROUND

         This litigation concerns the market for new replacement tires for passenger vehicles in

the United States that are selected and purchased by consumers (as opposed to original



1
    Plaintiff in Sampayan v. Continental Aktiengesellschaft., Case No. 1:24-cv-00881 (S.D.N.Y.).


                                                 1
            Case MDL No. 3107 Document 1-1 Filed 02/27/24 Page 2 of 11




equipment tires that are specified by vehicle manufacturers and fitted onto new vehicles). ¶¶ 1,

44-48.2 The replacement tire market in the United States was valued at $61 billion in 2022 and

is concentrated in the hands of a few companies: Defendants Bridgestone, Michelin, and

Goodyear made up almost 64 percent of the entire market in 2022 while the remainder includes

Defendants such as Continental and Nokian.3 ¶¶ 46, 75-76. Many Defendants, such as

Goodyear, sell directly to consumers in the United States through retail locations or online. ¶¶

10, 22. Plaintiff alleges that Defendants engaged in a conspiracy to restrain trade by an

agreement or understanding to raise and maintain prices for new replacement passenger vehicle

tires at artificially high levels in the United States. ¶¶ 1-3, 78-101. While the price of

replacement tires was relatively stable between 2011 and 2020, tire prices increased dramatically

in the past four years due to frequent and synchronized price hikes by Defendants. ¶¶ 49-77.

The price increases have been disproportionate to Defendants’ increased costs during the

COVID-19 pandemic and tire prices have remained high even as the pandemic has subsided and

the factors driving inflation have dissipated. ¶¶ 71-72. On January 30, 2024, the European

Commission (“EC”) announced that it had conducted dawn raids on Defendants’ premises over




2
  All “¶” references are to paragraphs in the Complaint filed in the Sampayan action. Case No.
1:24-cv-00881, Dkt. 1 (S.D.N.Y.).
3
  Defendants include Continental Aktiengesellschaft; Continental Tire the Americas, LLC;
Compagnie Générale des Établissements; Compagnie Générale des Établissements Michelin
SCA; Compagnie Financière Michelin SA; Michelin North America, Inc.; Nokian Tyres plc;
Nokian Tyres Inc; Nokian Tyres North America, Inc.; Nokian Tyres U.S. Operations LLC; The
Goodyear Tire & Rubber Company; Pirelli & C. S.p.A.; Pirelli Tire LLC; Bridgestone
Corporation; Bridgestone Americas, Inc.; Hankook Tire & Technology Co., Ltd.; Hankook Tire
America Corp.; Yokohama Rubber Co., Ltd.; Yokohama Tire Corporation; Toyo Tire
Corporation; Toyo Tire U.S.A. Corp.; Kumho Tire Co.; Kumho Tire U.S.A.; Sumitomo Rubber
Industries, Ltd.; Sumitomo Rubber North America, Inc.; GITI Tire Global Trading Pte. Ltd.; and
Giti Tire (USA) Ltd.


                                                  2
           Case MDL No. 3107 Document 1-1 Filed 02/27/24 Page 3 of 11




the suspicion that the companies were violating European Union antitrust rules regarding price

coordination. ¶ 2.

       Beginning on February 7, 2024, at least fourteen class action complaints have been filed

regarding the alleged conspiracy to fix the prices of passenger vehicle replacement tires in the

United States:

                Eleven cases in the Southern District of New York currently pending before the

                 Hon. Edgardo Ramos consisting of:

                     o   Seven direct purchaser actions: Sampayan v. Continental

                         Aktiengesellschaft, et al., No. 1:24-cv-00881 (February 7, 2024); Islami v.

                         Continental Aktiengesellschaft, et al., No. 1:24-cv-00967 (Feb. 8, 2024);

                         Alford v. Bridgestone Corporation, et al., No. 1:24-cv-01038 (Feb. 12,

                         2024); Edwards v. Continental Aktiengesellschaft, et al., No. 1:24-cv-

                         01092 (Feb. 14, 2024); Torres v. Continental Aktiengesellschaft, et al.,

                         No. 1:24-cv-01124 (Feb. 15, 2024); Davidov, et al., v. Continental

                         Aktiengesellschaft, et al., No. 1:24-cv-01367 (Feb. 22, 2024); Curran v.

                         The Goodyear Tire & Rubber Co., et al., No. 1:24-cv-01419 (Feb. 23,

                         2024).

                     o Four indirect purchaser actions: Purcell, et al. v. Continental

                         Aktiengesellschaft, et al., No. 1:24-00938 (Feb. 8, 2024); Wilkerson Farms

                         ET, LLC v. Continental Aktiengesellschaft, et al., No. 1:24-00970 (Feb. 9,

                         2024); Novak v. Continental Aktiengesellschaft, et al., No. 1:24-cv-01202

                         (Feb. 16, 2024); Spadafino v. Continental Aktiengesellschaft, et al., No.

                         1:24-01452 (Feb. 26, 2024).




                                                   3
            Case MDL No. 3107 Document 1-1 Filed 02/27/24 Page 4 of 11




              Two indirect purchaser actions in the District of South Carolina currently pending

               before the Hon. Jacquelyn D. Austin: Link v. Continental Aktiengesellschaft, et

               al., No. 6:24-cv-00913 (Feb. 23, 2024); Valenzano v. Continental

               Aktiengesellschaft, et al., No. 6:24-cv-00948 (February 23, 2024).

              One direct purchaser action in the Northern District of Ohio before the Hon. Sara

               Loi, Bengel v. Continental Aktiengesellschaft, et al., No: 5:24-cv-00363 (Feb. 27,

               2024).


       The Related Actions (see Schedule of Related Actions submitted herewith) involve

overlapping Defendants and each alleges that Defendants conspired to fix the prices of new

replacement tires for passenger cars, vans, trucks, and buses sold in the United States in violation

of federal and state antitrust and consumer protection laws. Each Related Action alleges

lockstep price increases and similar factors that corroborate Defendants’ horizonal price-fixing

agreement, including the EC’s announcement, the sudden and dramatic parallel price increases,

the high levels of market concentration, the significant barriers to entry, the inelastic demand for

replacement tires, and Defendants’ history of antitrust violations. Each of the Related Actions

seeks compensatory damages and injunctive relief on behalf of direct or indirect purchasers of

tires in the United States from January 1, 2020, until Defendants’ anticompetitive conduct

ceased. The Related Actions are also in a similar procedural posture as all are in the very earliest

stages of litigation and no dispositive motions have been filed and discovery has yet to

commence.




                                                 4
            Case MDL No. 3107 Document 1-1 Filed 02/27/24 Page 5 of 11




                                           ARGUMENT

I.     CENTRALIZATION OF THE RELATED ACTIONS IS WARRANTED UNDER 28
       U.S.C. § 1407

        “When civil actions involving one or more common questions of fact are pending in

different districts,” this Panel may transfer such actions “to any district for coordinated or

consolidated pretrial proceedings,” if transfer would serve “the convenience of parties and

witnesses and will promote the just and efficient conduct of such actions.” 28 U.S.C. § 1407(a).

Because these requirements are met here, the Panel should transfer the Related Actions to a

single district for coordinated or consolidated pretrial proceedings.

       A.      The Related Actions Involve Common Questions of Fact

       For purposes of Section 1407, common questions of fact exist where multiple actions

assert similar “core factual allegations” and “can be expected to focus on a significant number of

common events, defendants, and/or witnesses.” In re Unumprovident Corp. Sec., Derivative &

“ERISA” Litig., 280 F. Supp. 2d 1377, 1379 (J.P.M.L. 2003).

       The Related Actions satisfy the requirements of Section 1407(a) because they involve

common defendants and overlapping conduct, and the Panel routinely finds that centralization is

appropriate for cases involving alleged violations of antitrust laws. See, e.g., In re Qualcomm

Antitrust Litig., 273 F. Supp. 3d 1373, 1375 (J.P.M.L. 2017) (“Plaintiffs in all the actions listed

on Schedule A assert similar claims for violations of federal and state antitrust and consumer

protection laws.”); In re Visa/Mastercard Antitrust Litig., 295 F. Supp. 2d 1379, 1380 (J.P.M.L.

2003) (“All six actions share factual questions relating to allegations that Visa and MasterCard’s

‘Honor All Cards’ policy violates the Sherman Antitrust Act.”); In re Polyester Staple Antitrust

Litig., 259 F. Supp. 2d 1376, 1377 (J.P.M.L. 2003) (cases arising out of alleged price fixing

shared common factual questions); In re Parcel Tanker Shipping Servs. Antitrust Litig., 296 F.


                                                  5
            Case MDL No. 3107 Document 1-1 Filed 02/27/24 Page 6 of 11




Supp. 2d 1370, 1371 (J.P.M.L. 2003) (“All actions share factual questions relating to the

existence, scope and effect of an alleged conspiracy to fix the price of international shipments of

liquid chemicals in the United States.”).

        Each Related Action is also brought on behalf of a nationwide class and asserts antitrust

claims under federal law. See In re Cotton Yarn Antitrust Litig., 336 F. Supp. 2d 1383, 1384

(J.P.M.L. 2004) (“All actions share factual questions relating to the existence, scope and effect of

an alleged conspiracy to fix the price of cotton yarn in the United States and/or to allocate the

U.S. cotton yarn market and customers.”); In re Domestic Airline Travel Antitrust Litig., 140 F.

Supp. 3d 1344, 1345 (J.P.M.L. 2015) (“All of the actions assert overlapping putative nationwide

classes of direct purchasers of domestic airfare, and all the actions assert antitrust violations of

Section 1 of the Sherman Act.”); In re K-Dur Antitrust Litig., 176 F. Supp. 2d 1377, 1378

(J.P.M.L. 2001) (similar).

        The Panel likewise frequently centralizes direct and indirect purchaser actions together.

See, e.g., In re: Lidoderm Antitrust Litig., 11 F. Supp. 3d 1344, 1345 (J.P.M.L. 2014) (“All of the

actions are putative nationwide class actions on behalf of either direct or indirect purchasers.”);

In re Capacitors Antitrust Litig. (No. III), 285 F. Supp. 3d 1353, 1355 (J.P.M.L. 2017).

        While some of the indirect purchaser plaintiffs in the Related Actions bring additional

claims for violations of state antitrust and consumer protection laws on behalf of state subclasses,

the Panel has “often . . . held that the assertion of different legal claims or additional facts is not

significant where, as here, the actions arise from a common factual core” and that transferee

judges are more than capable of applying the laws of multiple states. In re Insulin Pricing Litig.,

No. MDL 3080, 2023 WL 5065090, at *2 (J.P.M.L. Aug. 3, 2023).

        The Related Actions therefore share one or more common questions of fact under Section




                                                   6
            Case MDL No. 3107 Document 1-1 Filed 02/27/24 Page 7 of 11




1407(a).

       B.      Centralization Would Serve the Convenience of Parties and Witnesses and
               Promote the Just and Efficient Conduct of The Related Actions

       Because the Related Actions’ factual allegations and legal claims largely overlap, transfer

would serve “the convenience of parties and witnesses and . . . promote the just and efficient

conduct” of the Related Actions. 28 U.S.C. § 1407(a). There are already fourteen actions

pending in three districts. See e.g., In re Delta Dental Antitrust Litig., 433 F. Supp. 3d 1358

(J.P.M.L. 2020) (centralizing fourteen actions pending in three districts in the district where “half

of the related actions…are pending”); In re Ranbaxy Generic Drug Application Antitrust Litig.,

355 F. Supp. 3d 1382 (J.P.M.L. 2019) (centralizing four actions pending in three districts); In re

Diisocyanates Antitrust Litig., 341 F. Supp. 3d 1376, 1377 (J.P.M.L. 2018) (centralizing twelve

actions filed in three districts involving antitrust allegations where “discovery is likely to be

international in scope”). Given the likelihood that additional cases will be filed, centralization

under section 1407 now would be the most efficient means of proceeding. See, e.g., In re:

Edward H. Okun I.R.S. |1031 Tax Deferred Exch. Litig., 609 F. Supp. 2d 1380, 1381 (J.P.M.L.

2009) (“[D]enial of either of Wachovia’s transfer motions could engender delay, as the Panel

may be asked to revisit the question of Section 1407 centralization. Centralizing these actions

now under Section 1407 should streamline resolution of this litigation to the overall benefit of

the parties and the judiciary.”); In re: AndroGel Prod. Liab. Litig., 24 F. Supp. 3d 1378, 1379

(J.P.M.L. 2014) (rejecting alternatives to centralization because they “would delay the resolution

of the common core issues in this litigation”).

       Centralization is also appropriate because the plaintiffs in the Related Actions will

undoubtedly pursue substantially similar testimony, documents, and other evidence from

Defendants, but the 14 actions are proceeding in three separate districts in different states each



                                                  7
            Case MDL No. 3107 Document 1-1 Filed 02/27/24 Page 8 of 11




with distinct groups of Plaintiffs’ counsel. Centralizing the Related Actions will have “the

salutary effect of placing all actions in this docket before a single judge who can formulate a

pretrial program that ensures that pretrial proceedings will be conducted in a manner leading to

the just and expeditious resolution of all actions to the overall benefit of the parties.” In re Cook

Med., Inc., Pelvic Repair Sys. Prod. Liab. Litig., 949 F. Supp. 2d 1373, 1375 (J.P.M.L. 2013); In

re Auto Body Shop Antitrust Litig., 37 F. Supp. 3d 1388, 1390 (J.P.M.L. 2014) (“Transfer under

Section 1407 will offer the benefit of placing all related actions before a single judge who can

structure pretrial proceedings to accommodate all parties’ legitimate discovery needs while

ensuring that common witnesses are not subjected to duplicative discovery demands.”)

        Moreover, because the Related Actions have many common questions of fact and law,

they will also have many overlapping pretrial issues, including the adequacy of the claims and

allegations. And because each Related Action is a class action, centralization will eliminate the

possibility of inconsistent rulings on class certification from courts in three districts. See, e.g., In

re: Zimmer Durom Hip Cup Prod. Liab. Litig., 717 F. Supp. 2d 1376, 1377 (J.P.M.L. 2010)

(“Centralization under Section 1407 will eliminate duplicative discovery, prevent inconsistent

pretrial rulings on discovery and other issues, and conserve the resources of the parties, their

counsel and the judiciary.”).

        For these reasons, the Panel should centralize the Related Actions in the interests of

justice and efficiency.

II.     THE PANEL SHOULD TRANSFER THE RELATED ACTIONS TO THE
        SOUTHERN DISTRICT OF NEW YORK

        In determining the appropriate transferee district, the Panel considers a variety of factors,

including: (1) whether the district “offers a forum that is both convenient and accessible for the

parties and witnesses”; (2) the location of “relevant witnesses and evidence”; (3) the positions of



                                                   8
           Case MDL No. 3107 Document 1-1 Filed 02/27/24 Page 9 of 11




the parties; and (4) the experience of the transferee judge and district in navigating “the nuances

of complex and multidistrict litigation.” In re: Aggrenox Antitrust Litig., 11 F. Supp. 3d 1342,

1343 (J.P.M.L. 2014). Movant submits that the Southern District of New York is well-suited for

these cases. The majority of the cases—11 out of 14—have been filed in the district, including

all of the earliest-filed cases.4 See In re Cotton Yarn, 336 F.Supp.2d at 1384 (selecting district

where “six of the seven actions in this litigation are currently pending”); In re Treasury Sec.

Auction Antitrust Litig., 148 F. Supp. 3d 1360, 1362 (J.P.M.L. 2015) (selecting district in part

because “the vast majority of actions” were pending there); In re Microcrystalline Cellulose

Antitrust Litig., 149 F. Supp. 2d 935, 936 (J.P.M.L. 2001) (same); see also In re Sensipar

(Cinacalcet Hydrochloride Tablets) Antitrust Litig., 412 F. Supp. 3d 1344, 1346 (J.P.M.L. 2019)

(selecting district in part because “[t]he three earliest-filed actions are pending there…”).

       In addition, because this litigation involves an alleged sprawling conspiracy spanning the

United States and around the world, the Panel should select a district that is “geographically

central and accessible.”5 In re: DePuy Orthopaedics, Inc., Pinnacle Hip Implant Prod. Liab.

Litig., 787 F. Supp. 2d 1358, 1360 (J.P.M.L. 2011). New York City is a convenient location for

the parties and witnesses. Defendant Michelin North America, Inc. is incorporated under the

laws of New York and several Defendants, as well as likely witnesses, are based in Europe. See

In re: Libor-Based Fin. Instruments Antitrust Litig., 802 F. Supp. 2d 1380, 1381 (J.P.M.L. 2011)

(noting the Southern District of New York is “also relatively more convenient for those




4
  See Judicial Panel on Multidistrict Litigation, MDL Statistics Report—Distribution of Pending
MDL Dockets by District (February 1, 2024), available at
https://www.jpml.uscourts.gov/sites/jpml/files/Pending_MDL_Dockets_By_District-February-1-
2024.pdf (last visited February 23, 2024).
5
  Defendants are based in the United States, France, Finland, Germany, Italy, Japan, and South
Korea.


                                                  9
           Case MDL No. 3107 Document 1-1 Filed 02/27/24 Page 10 of 11




defendants based in the United Kingdom and Europe”); In re Parmalat Sec. Litig., 350 F. Supp.

2d 1356, 1357 (J.P.M.L. 2004) (selecting the Southern District of New York in part because it

“is relatively conveniently located for parties and witnesses and their counsel located both in the

United States and abroad.”); see, e.g., In re Eur. Rail Pass Antitrust Litig., No. MDL1386, 2001

WL 587855, at *1 (J.P.M.L. Feb. 7, 2001) (centralizing antitrust actions in the district); In re

Fed. Home Loan Mort. Corp. Sec. & Derivative Litig. (No. II), 303 F. Supp. 2d 1379, 1380

(J.P.M.L. 2004); In re AOL Time Warner, Inc., 235 F. Supp. 2d 1380, 1381 (J.P.M.L. 2002).

       Judge Edgardo Ramos, who is currently presiding over all the Related Actions pending in

the Southern District of New York, is a capable jurist “who has not yet had the opportunity to

preside over an MDL.” In re Fisher-Price Rock ‘N Play Sleeper Mktg., Sales Practices, & Prod.

Liab. Litig., No. MDL 2903, 2019 WL 4010712, at *2 (J.P.M.L. 2019); see In re Stryker

Orthopaedics LFIT V40 Femoral Head Prod. Liab. Litig., 249 F. Supp. 3d 1353, 1356 (J.P.M.L.

2017) (same). The Southern District of New York possesses substantial resources and has a

track record of efficiency,6 routinely handles multidistrict antitrust litigation,7 and has many

experienced jurists who can manage this complex multi-party litigation. See In re: Aggrenox, 11

F. Supp. 3d at 1343 (considering experience of district); In re Adelphia Commc’ns Corp. Sec. &




6
  For example, the median time from filing to disposition for civil cases is shorter in the Southern
District of New York (5.6 months), than the District of South Carolina (8 months), or the
Northern District of Ohio (8.2 months). See https://www.uscourts.gov/sites/default/files/data_
tables/fcms_na_distcomparison1231.2023.pdf (last visited Feb. 27, 2024).
7
  See, e.g., In re Digital Advert. Antitrust Litig., 555 F. Supp. 3d 1372, 1379 (J.P.M.L. 2021)
(centralizing in the Southern District of New York); In re Inclusive Access Course Materials
Antitrust Litig., 482 F. Supp. 3d 1358, 1360 (J.P.M.L. 2020) (same); In re Int. Rate Swaps
Antitrust Litig., 190 F. Supp. 3d 1364, 1366 (J.P.M.L. 2016) (same); In re: Keurig Green
Mountain Single-Serve Coffee Antitrust Litig., 24 F. Supp. 3d 1361, 1363 (J.P.M.L. 2014)
(same); In re: London Silver Fixing, Ltd., Antitrust Litig., 52 F. Supp. 3d 1381 (J.P.M.L. 2014)
(same).


                                                 10
           Case MDL No. 3107 Document 1-1 Filed 02/27/24 Page 11 of 11




Derivative Litig. (No. II), 273 F. Supp. 2d 1353, 1355 (J.P.M.L. 2003) (concluding that the

district “possesses the necessary resources to be able to devote the substantial time and effort to

pretrial matters that this complex docket is likely to require.”).

       The Southern District of New York is therefore a suitable transferee district and Judge

Ramos, or another judge from the district, will help steer this litigation on a prudent course.

                                          CONCLUSION

       For the foregoing reasons, Movant respectfully requests that the Panel transfer and

promptly centralize the Related Actions before the Hon. Edgardo Ramos of the Southern District

of New York or another judge in the district.



Dated: February 27, 2024                            Respectfully submitted,

                                                    By: /s/ Dena C. Sharp

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                                                  11
